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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA                )
                                        )            CIVIL ACTION NO.
        v.                              )              2:17cr33-MHT
                                        )                  (WO)
WILLIAM EDWARD ROBINSON                 )
and SANDRA WRIGHT TAYLOR                )

                       FINAL ORDER OF FORFEITURE

      WHEREAS, on October 3, 2017, this court entered a

preliminary           order     of     forfeiture          (doc.      no.     65)

forfeiting           defendants’       interest       in     the     following

property        to    the   United     States:       Taurus,    model       PT709

Slim, 9mm semi-automatic                    pistol, sn: TGN21101; AMT,

model Back Up, .380 caliber semi-automatic pistol, sn:

C02169;      Browning,        model    Baby,        6.35mm    semi-automatic

pistol,      sn:       51025;        U.S.     Revolver       Company        (Iver

Johnson), model             Double Action, .32 caliber revolver,

sn:     15472;       Colt,    model         Third    Model,    .41     caliber

derringer,       sn:     15221;      CBC,     model    715T,    .22    caliber

semi-automatic rifle, sn: EMB3656228; Mauser, model MM

410B,     .22    caliber      semi-automatic          rifle,    sn:    206345;
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Hamilton Rifle Company, model 27, .22 caliber rifle,

sn: none; U.S. Carbine, model M1, .30 caliber semi-

automatic rifle, sn: 427516; Arisaka, model Type 99,

7.7mm caliber rifle, sn: 5993; Remington Arms Company,

Inc., model Nylon 66, .22 caliber semi-automatic rifle,

sn: 2113083; High Standard, model Riot 18-7, 12 gauge

shotgun,      sn:      none;     Ruger,      model     10/22,      .22     caliber

semi-automatic           rifle,    sn:       828-46763;         Pietta,      model

Bantam,     .22        caliber    rifle,      sn:    1735;      Savage,      model

Stevens      12     Marksman,      .22       caliber      rifle,     sn:     F240;

Eclipse Gun Company, model unknown, 12 gauge shotgun,

sn: 171411; Central Arms Company (Shapleighs), model

unknown,      12       gauge     shotgun,       sn:       178945;      STEN-type

machinegun,        sn:    none;    STEN-type         machinegun        receiver,

sn:      U97997;         STEN-type        frame,          sn:      none;      and,

miscellaneous ammunition;

      WHEREAS,         publication    of      notice      was    not     required

pursuant to Rule G(4)(a) of the Supplemental Rules for

Admiralty         or    Maritime     Claims         and    Asset     Forfeiture

Actions as the property is worth less than $1,000 and

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the only potential claimants are the defendants, and

the     government         gave      defendants          notice         in   the

superseding indictment (doc. no. 23) that it would seek

the     forfeiture        of   all       property      involved         in   the

commission of the offenses in violation of 18 U.S.C. §§

922(g)(1),            924(c)(1)(A)(i),                 1029(a)(4)            and

(c)(1)(a)(ii); 21 U.S.C. §§ 841, 843(b), 846, 856(a)

and 26 U.S.C. §§ 5841, 5861(d) and 5871; and,

      WHEREAS, the court finds that defendants have an

interest in the property that is subject to forfeiture

pursuant      to    18    U.S.C.     §    924(d)(1)      by   28    U.S.C.     §

2461(c); 21 U.S.C. § 853 and 26 U.S.C. § 5872 by U.S.C.

2461(c);      and   the     United       States    has    established        the

requisite nexus between such property in the commission

of the offenses in violation of 18 U.S.C. §§ 922(g)(1),

1029(a)(4)      and      (c)(1)(a)(ii);           21   U.S.C.      §§   843(b),

846, 856(a) and 26 U.S.C. §§ 5841, 5861(d) and 5871;

      It is ORDERED that the United States’s motion for a

final order of forfeiture (doc. no. 111) is granted as

follows:

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    1.   The following property is hereby forfeited to

the United States pursuant to pursuant to 18 U.S.C. §

924(d)(1) by 28 U.S.C. § 2461(c); 21 U.S.C. § 853 and

26 U.S.C. § 5872 by U.S.C. 2461(c):

    (a) Taurus, model PT709 Slim, 9mm semi-automatic

pistol, sn: TGN21101;

    (b) AMT, model Back Up, .380 caliber semi-automatic

pistol, sn: C02169;

    (c) Browning,        model    Baby,    6.35mm     semi-automatic

pistol, sn: 51025;

    (d) U.S.     Revolver      Company    (Iver     Johnson),     model

Double Action, .32 caliber revolver, sn: 15472;

    (e) Colt, model Third Model, .41 caliber derringer,

sn: 15221;

    (f) CBC,     model    715T,    .22    caliber     semi-automatic

rifle, sn: EMB3656228;

    (g) Mauser,        model       MM      410B,      .22      caliber

semi-automatic rifle, sn: 206345;

    (h) Hamilton Rifle Company, model 27, .22 caliber

rifle, sn: none;

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    (i) U.S.       Carbine,       model       M1,     .30        caliber

semi-automatic rifle, sn: 427516;

    (j) Arisaka, model Type 99, 7.7mm caliber rifle,

sn: 5993;

    (k) Remington Arms Company, Inc., model Nylon 66,

.22 caliber semi- automatic rifle, sn: 2113083;

    (l) High     Standard,      model     Riot      18-7,   12     gauge

shotgun, sn: none;

    (m) Ruger, model 10/22, .22 caliber semi-automatic

rifle, sn: 828-46763;

    (n) Pietta, model Bantam, .22 caliber rifle, sn:

1735;

    (o) Savage, model Stevens 12 Marksman, .22 caliber

rifle, sn: F240;

    (p) Eclipse Gun Company, model unknown, 12 gauge

shotgun, sn: 171411;

    (q) Central       Arms     Company       (Shapleighs),        model

unknown, 12 gauge shotgun, sn: 178945;



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    (r) STEN-type machinegun, sn: none;

    (s) STEN-type machinegun receiver, sn: U97997;

    (t) STEN-type frame, sn: none; and,

    (u) Miscellaneous ammunition.

    2.   All right, title and interest to the property

described   above     is    hereby      condemned,    forfeited        and

vested in the United States and shall be disposed of

according to law.

    3.   The United States District Court shall retain

jurisdiction in the case for the purpose of enforcing

this order.

    4.   The    clerk      of     the   court    shall     forward      a

certified   copy    of     this   order    to   the   United    States

Attorney’s Office.

    DONE, this the 2nd day of February, 2018.

                                     /s/ Myron H. Thompson
                                  UNITED STATES DISTRICT JUDGE
